     Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 1 of 61


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               IN THE UNITED STATES DISTRICT COUN T
              FOR THE SOUTHERN DISTRICT OF GEOR
                        SAVANNAH DIVISION

JOHN RANDALL FUTCH, )

             Plaintiff, )

                                                         Civil Action No .

HOUSEHOLD BANK , N.A., ) C V 4 0                                                             09
RUST CONSULTING, INC ., and )
BRIAN STRANGE ,

             Defendants.

                               NOTICE OF REMOVA L

      Defendant Rust Consulting, Inc . ("Rust") respectfully files this Notice of

Removal from the State Court of Chatham County, Georgia, to the United States

District Court for the Southern District of Georgia, Savannah Division . Rust

shows the Court as follows :

      1 . This action was commenced on May 1, 2007 by the filing of a

Complaint in the State Court of Chatham County, Georgia . On July 25, 2007, Rust

filed its answer in the State Court . A true and correct copy of the Complaint,

Answer, and other pleadings, process and orders served on Rust in this action, are

attached hereto as Exhibit 1 . In the Complaint, Plaintiff seeks compensatory and
      Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 2 of 61




punitive damages related to a claim he submitted in a class action filed in a

California state court .

       2 . This removal is timely under 28 U .S.C . § 1446(b) because it has been

filed within thirty (30) days after service on Rust of Plaintiff's initial pleading

setting forth his claims for relief .

       3 . Defendant Household Bank, N .A . ("Household") has thirty days from

the date it was served to consent to this removal . See e . g., Adams v . Lederle

Labs ., 569 F . Supp . 234, 243 (D . Mo . 1983) .

       4 . Defendant Brian Strange ("Strange") has not been personally served

with a summons and copy of the complaint, therefore, he is not required to consent

to this removal . See Murphy Bros ., Inc. v. Michetti Pipe Stringing, Inc . , 526 U .S.

344, 347-49 (1999) (holding a defendant has no duty to file a notice of removal

without formal service) ; Jones y. Houston Indep . Sch. Dist, 979 F .2d 1004, 1007

(5th Cir . 1992) (holding a defendant cannot join in a removal petition if he is not

served).

       5 . As set forth below, the Court has diversity of citizenship jurisdiction

over this matter pursuant to 28 U .S .C . § 1332(a) because the alleged cause of

action brought by Plaintiff against Defendants is a suit between citizens of
       Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 3 of 61




different states, and the amount in controversy exceeds $75,000 .00, exclusive of

interest and costs .

               Complete diversity of citizenship exists between Plaintiff and

Defendants .

        7. Plaintiff is a citizen of Georgia . Currently, Plaintiff is a prisoner

incarcerated at the Federal Correctional Institution in Pekin, Illinois . See Compl.

¶ 1, p . 2, Ex . 1 . Prisoners retain their pre-incarceration citizenship . Polakoff v .

Henderson, 370 F . Supp. 690, 693 (N .D . Ga. 1973), affd 488 F .2d 977 (5th Cir .

1974). Before Plaintiff's incarceration, he was, and thus remains, a Georgia

citizen .

               Defendant Rust, a corporation, is, and was at the time o f

commencement of this action, a citizen of Minnesota . See Compl . ¶ 2, p . 1, E

Rust is incorporated under the laws of Minnesota, and its one principal place of

business is located in Minnesota .

               Pursuant to 28 U.S .C . § 1348, Defendant Household is a citizen o f

Nevada because Household is, and was at the time of the commencement of this

action, a national banking association with its main office in Nevada . Wachovia

Bank v . Schmidt , 546 U.S . 303, 126 S . Ct . 941, 945, 163 L. Ed . 2d 797, 803

(2006).
      Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 4 of 61




       10 . The matter in controversy in this case exceeds $75,000 .00, exclusive

of interest and costs . Plaintiffs Complaint includes a demand for judgment for

$425,000 .00 from each Defendant . See Compl . ¶ (b) . 1

       11 . Attached hereto as Exhibit I are copies of all pleadings, process and

orders served on Rust to date in this action .

       12 . Pursuant to 28 U .S .C . § 1446(d), a copy of this Notice of Removal

shall be filed promptly with the Clerk of the State Court of Chatham County,

Georgia, and is being served on Plaintiff.

       13 . The United States District Court for the Southern District of Georgia

is the court embracing the State Court of Chatham County, the court where

Plaintiff filed this action . For the purpose of removal, venue therefore is proper in

this Court pursuant to 28 U.S .C . § 90(c)(3) and 28 U .S .C . § 1441(a).

      WHEREFORE, Rust prays that the Court assume jurisdiction over this

action from the State Court of Chatham County, Georgia, and that this action shal l


       1 Rust denies all liability and denies that Plaintiff is entitled to or will
recover damages in any amount . Rust does not concede or admit that, if liability
were found, the amount of such liability would exceed $75,000 .00 for each
Defendant or that Plaintiff's damages calculation methodology is in any way
proper . Rust provides the figures in this Notice solely to demonstrate that the
"matter in controversy," judged by the alleged (but unproven and disputed) facts in
the Complaint, meets the jurisdictional requirements of 28 U .S .C . § 1332(a).
      Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 5 of 61




proceed as removed under this Court's jurisdiction pursuant to 28 U .S .C .

  § 1332(a) and 1441(b) .



       Respectfully submitted this Z4A day of July, 2007.



                                                  &.A"7

                                       R. Clay Ratterree
                                       Georgia Bar No . 59531 2
                                       Ellis, Painter, Ratterree & Adams LLP
                                       First Union Building, 10th Floo r
                                       2 East Bryan Street
                                       Savannah, Georgia 31401
                                       Phone : (912) 233-9700
                                       Fax : (912 ) 233-228 1

OF COUNSEL :

Ashley Cummings
Georgia Bar No . 186005
Jason M . Beach
Georgia Bar No . 043606
HUNTON & WILLIAMS LLP
Bank of America Plaza, Suite 41 .00
600 Peachtree Street, N .E.
Atlanta, Georgia 30308
Phone : (404) 888-4000
Fax : (404) 888-4190
                                      Counsel for Defendant Rust Consulting,
                                      Inc.
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 6 of 61




                        EXHIBIT 1
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 7 of 61




               IN THE STATE COURT OF CHATBAH COU TY
                           STATE OF GEORGIA

 JOHN RANDALL FUTCH
           Plaintiff,
                                          Case No .

      V.


 HOUSIOLD BANK
 RUST CONSULTING                          CIVIL COMPLAINT
 BRIAN STRANGE

           Defendants .




                              COMPLAINT

      NOW COMES, John Randall Futch (Plaintiff) herein and file his

 Complaint showing the Court as follows :

 i . Defendant Household Bank is a resident of Cook County ,Illinois

 and is subject to the jurisdiction of this Honorable Court . The

 Defendant may be served with this Complaint , Summons, and Process
 at 1301 E . Tower Road,   Schaumburg , IL 60173 .
 2 . Defendant Rust Consulting , Inc . is a resident of Hennepin

 County, Minnesota and is subject to the j urisdiction of this

 Honorable Court . The Defendant may be .served with this-Complaint,
 Summons, and Process at 625 Marquette Avenue , Suite 880 , City of

 Minneapolis , Minnesota 55402 .
 3 . Defendant Brian Strange is a resident of Los Angeles , County

 and is subject to the jurisdiction of this Honorable Court . The

 Defendant may be served with this Complaint , Summons, and Process

 at 12100 Wilshire Boulevard , 19th Floor,      Los Angeles , Californi a




                                (1)
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 8 of 61




  90025 .

  1 . The Plaintiff John Randall Futch, is i ncarcerated in the
  Federal Correctional Institution , Pekin , Illinois , P .O . Box

  5000 , Pekin, Illinois 61555 .

  2 . Household Bank, located at 1301 E . Tower ' Road, Schaumburg, IL

  60173 is a company involved in offering personal revolving credit

  to customers .    Household Bank entered into a contract with the said

  Plaintiff within the County of Chatham, The State of Georgia, and

  subsequently a national class action suit was filed against the

  said defendant " Household Bank for fee disputes .

  3 . Rust Consulting , Inc ., is located at 625 Marquette Avenue,

  Suite 880 , Minneapolis, Minnesota 55402 . As was a claim said

  administrator for Household Bank in connection " th a national

  class action lawsuit wherein a fee disputes was the core of the

  action .

  4 . Brian Strange of 12100 Wilshire Blvd , 19th Floor, Los Angeles
  California 90025 is a lawyer who was to represent the class in

  connection- with the cl a ss action .
  5 . The Plaintiff learned of the class action , and filed a

  claim in 2004 .

  5 . The Plaintiff received no response to his filed claim and

  then sought to inquire of the status .
  7 . The Plaintiff received communications from Defendant Strange

  indicating he was qualified for a claim .
  8 . The Plaintiff next received a letter from the Defendant

  Strange indicating thatiapayments were . made . to qualified accounts ,


                                   (2)
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 9 of 61




  and those who sought payments by mail, those checks would be

  forthcoming .
  9 . Defendant Strange admitted in his letter that the-payments

  from the class-action were automati c distribution to qualified

  accounts .

  10 . The Plaintiff contacted the Defendant Strange and sought

  information about his claim, when he didn't receive payment or

  check .

  11 . Plaintiff Strange asserts that the "Plaintiff did not submit
  the required documentation and the claim was denied .

  12 . Defendants Strange, Rust Consulting, and Household Bank

  committed fraud wherein, the plaintiff was erroneously overcharged

  fee's in violation of his contract with household .. Rust Consulting,

  Inc and Brian Strange committed fraud , wherein the Plaintiff filed
  a timely claim, and was never informed of any defects until it was

  past date to amend or cure any alleged defects so that he could
  recover his damages .
  13 . The Plaintiff further asserts that the Defendants Household

  Bank, Brian Strange , Rust Consulting, Inc . conspired to deny his

  claims and the relief thus committing a second act of fraud .

     WHEREFORE , PLAINTIFF PRAYS :
     (a) That process issue terms of law requiring the Defendants

  answer this complaint in a timely manner .
     (b) That the Plaintiff have and recover in compensatory

  damages   in the amount of $25,000 .00 and punitive damages in th e



                              (3)
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 10 of 61




 amount of $400,000 . 00 from each defendant .

   (c) That Plainti ff have such other and further relief

 as is just and proper in law or equity .
 This of               04:lo'"t        , 2007 .




P .O . Box 500 0
Pekin, Illinois 61555-5000
           Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 11 of 61




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Household Bank
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Household Bank"
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 J111 Hoo d

 From : "Boevers , Sue" cSBosverr@rustconeuliing .com}
 To : "JYt Hood" <JHood®LinkLlne.COM >
 Sent: Monday , February 13, 2006 7 :60 AM
 Subject ; RE : Shea v. Household

We have a Invalid form an file , no documents were attached to support the claim .

        --Original Message—
      From : Jill Flood [rnattta :JHoodILInkLlne.COM ]
      Sentm Tuesday, February 07, 2006 10 :40 AM
      To : Boevers, Su e
      Subject: Shea v . Household

       Dear Sue :
      Can you please check on the status of the following ctalm :
      John Randall Futch
      Federal Correctional Institution
      P .Q . Box 72 5
       Edgefield , SC 29824

      Thank you .

      Jill Hood, Paralegal
      STRANGE & CARPENTER
      12100 Wilshire Blvd ., Suite 1900
      Los Angeles, California 90025
      (310) 207-5055




                                                                                      2/13/2006
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 15 of 61




                                        STRANGE a CARPENTER
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       VIA 11-S. MAIL                                                                    LRUAL MAIL

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       Federal Correctional Institution
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       Pekin, IL 6155 5


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                      Settlemen t

       Dear Mr. Futch :

               Thank you for contac ting our office regarding the above -referenced class action
       settlement . We are pleased to inform you that the automatic credit portion of the
       distribution to qualified accounts has taken place . Qualified accounts with balances
       received a credit to the account . For qualified class members who will be receiving a
       settlement check by mail, those checks are expected to be mailed next week, and
       expected to be completed by January 31, 2007 . For accounts that did not receive an
       automatic credit, but qualify for a recove ry of less than $ 1.00, the recovery will be
       donated as a cy pres award to a designated charity as ordered by the Court, unless the
       class member requested the recovery by calling a toll free number at the time notice was
       sent . The recovery per account va ri es depending on the acti vity of each account . We do
       not have the amounts of each class member ' s recovery . There are over 22 .3 mil lion
       accounts that qualified for a finance charge award; almost 3 .3 million accounts that
       qualified for a late fee award ; and over 1 ,400 accounts that qualified for a overlimnit fee
       claim .

               Please feel free to contact our office with any fu rther questions .

                                               Very truly yours ,




       fjh
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 16 of 61




                                   STRANGE a CARPENTE R
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                                         February 16, 2007

    VIA U .S . MAX                                                            LEGAL MAIL

    John Randall Futch 08700-02 1
    Federal Correctional Institution
    P .J . Box 500 0
    Pekin, IL 61555

            Re :   Shea eaL 1. N uses h d Bank ( B). National Ai oclation Class Action
                   Settlemen t

    Dear Mr. Futch:

           This will respond to your January 25, 2007 letter regarding the above-referenced
    class action settlement. The claim administrator received your claim form . However,
    you did not submit the required supporting documentation and your claim form was
    therefore deemed invalid . Thus, your account did not qualify for a refund and a
    settlement check was not mailed to-you . Please feel free to contact our office with any
    further questions:

                                       Very truly yours,

                                        STRANGE & CARPENTER


                                        Brian R. Strang e
    /jh
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 17 of 61




  February 22, 200 7


   Brian Strange
   Attorney At Law
   Strange & -Carpente r
   12100 Wilshire Boulevard, 19th Floor
   Los Angeles , Californi a 90025

   VIA U .S . LEGAL MAI L

        Re : Shea,et al .v . Household Bank (SB), National Association
              Class Action Settlemen t

   Dear Mr . Strange :

         I am once again writing with regards to the above matter .
        As you are aware , I have sent numerous correspondence to
   your office . In addition, I have made every attempt , to get
   paid it the above-referenced action .

        As of this date, I have yet to receive anything from the
   settlement administrator . In which, has left me no other kind
   of alternative .

         Enclosed please find a complaint file with regards to the
   fact, I have yet to receive any payments . I have also included
   a statement from my account whereas theres proof of late fee's
   etc .

        Once again, if . and when your office cleats to contact
   the settlement administrator payments can be s ent to :


                    John R . Futch 08700-021
                    Bureau of Prison s
                    P .O . Box 474701
                    Des Moines 5094 7
         Thank you I await your reply .




   JRF-j f

   c : CaLifornia State Bar
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 18 of 61




                                    STRANGE $ CARPENTER
                                       ATTDIKHKY$AT LA W
                                 IRIOC W$LAMIFlr 'iOYLrVA RP . I ' rLOG N

                                    LOS ANGELES . CALIIORNIA 90025
                                        TLLZPMCNE 17101 907-1956
                                        fAC$IMMr 17101 AZ -3 IO

VI LAC NO,                                                                         Iaaou rwofee arthll nk, ns t
                                                                            www.itrdn9 aand9arvanter.ao m




                                            March 2, 200 7

     VAU.S. MAIL                                                              LEGAL          MAIL

     John Randall Futch 08700-02 1
     Federal Correctional Institution
     P .O . Box, 5000
     Pekin, IL 61555-500 0

             Re:   Asa, et at. X. Houjebo1 Bank (S B), National Association Class Action
                   Sox en t

     Dear Mr. Futch:

            This will respond to your February 22, 2007 letter regarding the above-referenced
     class action settlement. The claim administrator received your claim form. However, the
     claim form was deemed invalid because you did not submit the required supporting
     documentation. You will not be receiving a settlement check because either your account
     did not qualify for settlement recovery or your recovery was less than $1 .00 and will be
     donated as a cy pres award to a designated charity as ordered by the Court . In order to
     have redeemed any recovery of less than $ 1 .00, you would of had to call a toll free
     number and request such at the time notice was sent in 2004. Please feel free to contact
     our oHlice with any further questions :

                                         Very truly yours ,

                                         STRANGE         I CARPENTER


                                         Brian R. Strange
     /jh
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 19 of 61




                                       STRANGE & CARPENTER
                                            ATTORNCY9 AT LAW
                                  IIIIQ WILSNIRL 4QVLCVAMI~ , 191" FLOOR

                                       LO5 ANGELES. CALIFORNIA 90028
                                         T96EPWONE MW E07-005 5

                                          IVAG41MILM Idol SAS- 211 0

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                                                                                 wwwx"%n o"Ad w rP enM r, c o m




                                             March 5, 2007

   VIA U .S .      MATJ,                                 LEGAL MAIM L

    John Randall Futch 08700-021
    Federal Correctional Institution
    P .O . Box 500 0
    Pekin, IL 61555-5000

            Re :         ea_ al . 1, Household Bank (SB) N attune! s oci fion Class Action
                   She . et
                   S l en d

    Dear Mr. Futch:

             This will respond to your February 26, 2007 letter regarding the above-referenced
    class action settlement, My letters to you dated January 25, 2007 and February 16, 2007
    do not contradict one another and are not misleading . My January 25, 2007 letter sets
    forth information for accounts that may qualify for settlement recovery . That letter does
    not state that your account qualified for settlement payment. My February 16, 2007 letter
    states the same as my March 2, 2007 letter to you, your claim form was deemed invalid
    because you did not submit the required supporting documentation with your claim form.
    Although you enclose a copy of your credit card statement with your February 26, 2007
    letter, the deadline to submit a claim form and the required documentation was
    November 18, 2004 . It is too late to submit a copy of your credit card statement .

            Your February 26, 2007 letter states you are waiting for the settlement
    administrator ' s address. The settlement administrator's address was in the notice and is
    as follows : Household Claims Administrator, P .Q . Box 1712, Faribault, MN 55021-1712 .

            Please feel free to contact our office with any further questions.

                                          Very truly yours,

                                          STRANGE & CARPENTER


                                          Brian R. Strange
    1jh
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 20 of 61




                       Stat e       _ COURT of        Chatham                       COtJN y
     IN THE

                                      STATE OR GEORQXA



    John Randall Futc h                  ,

         Pl.aiutiff,

  y, Llousehold Ban k                                 C JACTTONNO STCY 0l D 17 4 8
     Rust Consulting, Inc .
     Brian Strange .
         Dofondant .



                                     AgpjQAVTf dF POV~tT Y


          P ereonally appoared before an authority duly authorized to &dmireter oaths, the

  undetigned, who being put upon oath, deposes and says tha t

           1 . He/She is the (PlaintiWDefendsnt) in the foregoing sonar .

          2. He/She is financiallyindigwt and is without adequate financial resources to pay The

   costs of this action.

           3 That without being able to proceed informs pauperis be/slie will not be able to pursue

   this action.

           The foregoing statem ents are tote and made undue o h malty of perjury if untrue.




    Sworn to and subscribed before env this
                    -~
           day of oo. i
                                                            ~ n na r#~ A C a
                                                                     OFP1CIRL SEAL.
                                                                     Sandra L. Tudela C'
                                                                Notary Public . State Of Winoal
                                                              My Cpmrwszk n Expirsa 02/1012010 .
        Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 21 of 61




                            In The State Court of Chatham County, Georgia
                           133 MONTGOM$RY STREET, SUITE 308, SAVANNAH, GEORGIA 31401
                          www.etatecourt.or0 - Phone (912) 652 -7224 - FAX (912) 652-7229 • clerk®aWnwurt.org


           John Randal l Futch



                                                                                    Counsel or Party Counsel or Party


                                                     Plaintif
                                                           f
 Vs
           Household Ban k
           Rust Consulting, Inc .

           Brian Strange



                                                   Defendan t


                                  CERTfFICATION UNDER RULE 3 .2

           Pursuant to rules 3.2 and 3,4 of the Uniform Superior Court Rules and Local Rule # of the Eastern Judicial
Circuit of Georgia, I hereby certify that no case has heretofore been filed in the State Court of the Eastern Judicial Circuit
involving substantially the same parties or substantially the stone subject mter or substantially the same factual issues which
would require the petition-pleading to be specifically assigned to the judge whom the original action was or is assigned .

           This _ 13"day of                          200,.


OR
           Pursuant to Rules 3 .2 and 3.4 of the Uniform Superior Court Rul e}/and Local Rule # of the Eastern
Judicial Circuit of Georgia, I hereby certify that this petition pleading involves substantially the same parties or substantially
he same factual issuES as in Case #


                                 VS
                       Plaintiff Defendan t

Filed in The Eastern Judicial Circuit of Georgia which u nder Rule 3 . 2 of the Superior Court rules require the :pedtion-pleading,
be speci fically assigned to the Judge whom the o riginal action was or is assigned .


                                                                                            Counsel or Pa rty

PRINT
                                                                                                      7. Cardfication under rule 3 .2 09.05
       Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 22 of 61




     In The State Court of Chatham County, Georgia
                   133 MONTOMlRY S'rr :BET, SUrrE 308, SAVANNAH, GROR            31401

          www.statecourt.org ' Phone (912) 652 -7224 ' FAX (912) 652-7229 ' clerk a2tateconrt .org




          John Randall Futch


                                                                                   sTCV O       O 174 8
                                              Plaintiff                               Case Number
Vs
          Household Bank                                                                                     !
                                                                                                                       -I
          Rust Consulting , I nc .                                                                                     ..i"
                                                                                                                   t        ) !Y7
                                                                                                                        : l'1 C 7
          Brian Stran&e                                                                                ♦ r




                                            Defendant

                                                          SUMMONS
                                              Brian Strange
TO THE ABOVE NAMED DEFBNDANT :
Defendant' s Address  12100 Wilshire Blvd ., 19th Floor, Los Angeles, CA 90 025
You are hereby summoned and required to file with the Clerk of said Court and serve upon Plaintiff's Attorney,
                                   John Randall Futch 08700-02 1
whnsenameandaddressis      : FCI Pekin, P .O . Box 5000,                             Pekin IL 61555-5000


                                                                                                                        an
answer to the complaint which is herewith served upon you, within 30 days alter service of this summons upon you .
exclusive of the day of swiss . If you fail to do so, Judgment by default will be taken against you for the relief demanded
in the complaint.




                                                                                         CLERK OF COURT
                                                                                   State-Court of Chatham County



                                                                                    141.1 K
                                                                                            .FEAR
                                                                                                  ;CL~BK
     Deputy Clerk, State Court of Chatham County Georgia                         CHA TTFM CO 1100                3QO
                                                                                 SAVANNAH, QE
                                                                                              oA                         E
                                                                                                      OU 3140 1

     Not valid until signed by a Deputy Court Clerk, above 27 . Sammons
      Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 23 of 61




     In The State Court of Chatham. County, Georgia
                    133 MONTGOMXRY STREET . SUITE 308 , SAVANNAH, GEORGIA 31401

          www.atatecourt. org ' Phone (912) 652 -7124 ' FAX (912) 652-7229           '    cierk®stateeourt.org




  John Randall Futc h




                                                                                         CVOT4174 8
                                              Plaintiff                                  Case Number ry a
Vs
     Household Ban k
                                                                                                               I
  Rust Consult ing, Inc .
                                                                                                          `
     Brian Strange


                                             Defendant


                                                          SUMMONS
                                                    Rust Conautling, Inc .
TO THE ABOVE NAMED DBFBNDANT :                                                                       WU
                    625 Marquette                venue 7      uite     880        rtneapo
Defendant's Address
You are hereby summoned and required to file with the Clerk of said Court and some upon Plaintiff' s Att orney,
                          : John Randall Futch 08700-021, FCI Peki n
whose name and address is       P .O . .Box 5000, Pekin, Illinois 61555-5000


                                                                                                                       an
answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. if you fail to do so. Judgment by default will be taken against you for the relief demanded
in the complaint



                                                                                         CLERK OF COURT
                                                                                   State Court of Chatham County



                                                                                  fflmrj~
     Deputy Clerk, State Court of Chatham County Georgia                         #AVAAWA at ff


     Not valid until signed by a Deputy Court Clerk, above 27.Summons
      Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 24 of 61




     In The State Court of Chatham County, Georgi a
                     133 MONTGOMZRY SMUT, SUITE 348, SAVANNAH, GEORGIA 31401

         www.stiLteeourt.org ' Phone ( 912) 652 -7124 ' FAX (912 ) 652-7229 ' clerk® statecourt .org




     John Randall Futch



                                                                                  STCVO7O174 8
                                               Plaintiff Case Number
Vs
     Household Bank
     Rust Consulting, Inc .
     Brian Strange


                                             Defendant


                                                       SUMMONS

TO THE ABOVE NAMED DEFENDANT :           Household Bank
                                                                                   sa
Defendant 's Address 1301 E . Tower Road , Schaumburg, I
You are hereby summoned and required to file with the Clark of said Court and serve upon Plaintiff's Attorney,
whose name and address is : John Randall Futch 08700-02 1
                                      FCI Pekin, P . 0 . Box 5000, Pekin, IL 61555-5000


                                                                                                                       an
answer to the complaint which is herewiith , served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, Judgment by default will be taken against you for the relief demanded
in the complaint.




                                           200-
                                                                                          3, VON
                                                                                                     ysm"9--
This day of                                                                                CLERK OF COUR T
                                                                                   State Court of Chatham County


                                                                                   CRIAN K. HART
                                                                                                 , CLERK
                                                                                   STATE COURT ROOM 30$
  Deputy Clerk, State C ourt of Chatham County Georgia                             CHATHAM COUNTY COURTNQ .
                                                                                   SAVANNAH, (JE     i."

     Not valid until signed by a Deputy Court Clerk, above                                         27.Summons
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 25 of 61




                        IN THE STATE COURT OF CHATHAM COUNT Y

                                         STATE OF GEORGI A

        JOHN RANDALL FUTCH,

                      Plaintiff,
                                                         S-ralO'      - 0/ f
        vs.                                              CIVIL ACTION   :  NO

        HOUSEHOLD BANK, RUST                                                         r   xrA
        CONSULTING, INC . and                                                    C
        BRIAN STRANGE,                                                            tr ~

                       Defendants .

                                                                                         aa-
                              ORDER ON FLMhMF]E!5 1!R0 SE
                            FILING AD REQUEST TO PROCEED
                                  IN FORMA PAUPBRI S

               In accordance with O.C .G.A. § 9-15-2(d) and 42-12-5 (b), the Court has examined

        the Plaintiffs petition for civil action and request to proceed in forma pauperis. Based

        upon the Court's review, it cannot be said "that the pleading shows on its face such a

        complete absence of any justiciable issue of law or fact that it cannot be reasonably

        believed that the court could grant any relief against any party named in the pleading."

        O .C.G .A. § g-15-2(d) . Said complaint is therefore APPROVED for filing.

               The Clerk is hereby ordered to file the same. Further, the Clerk shall insure that

        the Plaintiff provides all required forms for filing and shall furnish the Sheriff with

        sufficient copies for service.

               In addition, after having reviewed the Plaintiffs request to proceed in forma

        pauperis and the accompanying affidavit , said request is DENIED . Notice is hereby

        given that this civil action will be dismissed without prejudice if the filing fees are not

        paid within thirty (3o) days of the date of this order.
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 26 of 61




              SO ORDERED this day of 2007 .




                                           H. Gregory F I , Judge
                                           State Court of Chatham County, Georgia

        c: John Randall Fitch, Plaintiff
              Clerk of Court
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 27 of 61




            IN THE STATE COURT OF CHATHAM COUNTY

                           STATE OF GEORGI A

 JOHN RANDALL FUTCH
           Plaintiff,
                                      Case No .
                                                  $1 Y O T O 174 8



 HOUSEHOLD BAN K
 RUST CONSULTING, INC .
 BRIAN STRANGE

            Defendants .




              MOTION FOR•SERVICE . OF SUMMONS
                             OUTSID E

      NOW COMES John Randall Futch,        (Plaintiff ) herein and files

 this "Motion For Service of Summons Outside of State" as follows :
      1 . This action is for fraud , as is more fully shown in the

 Complaint attached hereto .
      2 . The Defendant " Brian Strange " is located and can be

 served at 12100 Wilshire Boulevard , 19th Floor, Los Angeles,

 California 90025 .

      3 . The period of thirty days is reasonable within which
 the Defendant ( Brian Strange ) should be required by summons

 served upon them to answer and appear to-defend this action .
      WHEREFORE ALL THE REASONS this plaintiff prays that'this

 Court issue an order demanding the same .
            ``
      ThisI uday of               1w1Qf            ,2007 .



                           BY :
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 28 of 61




            IN THE STATE COURT OF CHATHTAM COUNTY

                           STATE OF GEORGI A

 JOHN RANDALL FUTC H

            Plaintiff ,
                                          case No .   STCV OT Q 17 4 8




 HOUSEHOLD BANK '
 RUST CONSULTING, INC .
 BRIAN STRANGE
            Defendants .


               MOTION FOR SERVICE Or SUMMONS
                X0 CORMINT MUM STXTZ-

      NOW COMES John Randall Futch, (Plaintiff) herein and files
 this "Motion For Service of Summons Outside of State" as follows :

      1 . This action is for fraud , as is more fully shown in the

 Complaint attached hereto .

      2 . The Defendant "Rust Consulting, Inc ." is located and can

 be served at 625 Marquette Avenue , Suite 880, Minneapolis, MN 55402 .
      3 . The period of thirty days is reasonable within which th e

 Defendant (Rust Consulting, Inc .) should be required by summons
 served upon them to answer and appear to defend this action .

      WHEREFORE ALL THE REASONS this plaintiff prays that this
 Court i ssue an order demanding the same .

      This day of                  l" kL ~-            2007 .



                            BY :
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 29 of 61




             IN THE STATE COURT OF CHATHAM COUNTY

                           STATE OF GEORGIA-

 JOHN RANDALL FUTC H
            Plaintiff,                                8XVD7o 1748
                                          Case No .

      V.

                                                                    -- s
                                                                     i
 Household Bank
 Rust Consulting, Inc .
 Bri an Strange

            Defendants .




                  MOTION FOR SERVICE OF SUMMONS
              A

      NOW COMES John Randall Futch, (Plaintiff) herein and files

 this "Motion For Service of Summons Outside of State as follows :

     1 . This action is for fraud, as is more fully shown in the

 Complaint attached hereto .

     2 . The Defendant "Household Bank" is located and can be

 served at 1301 E . Tower Road , Schaumburg, IL 60173 .
     3 . The period of thirty days is reasonable within which

 the Defendant (Household Bank) should be required by summons
 served upon them to answer and appear to defend this action .

      WHEREFORE ALL THE REASONS this plaintiff prays that this .
 Court issue an order demanding the same . .
      This 1 3U ay         of         M     ,2007 .


                               BY :
   Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 30 of 61




                         General Civil Case Filing Information Form (Non Domestic) gasccc-o3

                               Court County                         CHATHAM                             Date Filed    05/01/2007
                         []Superior                                                                        MM-DD-YYYY
                         [State Docket #                             STCV 07.01748

Plaintlfi(s)                                                          Defendant(s)
FUTCH JOHN R .                                                        HOUSEHOLD BAN K
Last         First      Middle I . Suttix Prefix          Maiden      Lot       Fast Middle 1. Suffix Prefix           Meidan

                                                                       RUST CONSULTING, INC.
11ect        Firsl      Middle I . Suffix Prefix          Maide n     [wt First Middle L Suffix Prefix                 Maldan

                                                                        STRANGE BRIAN
Law          First      Middle 1 . Suffix Prefix          Maiden      Lest      Hest         mime 1 . Suffix Prefix    Maiden


             First      Middle 1. Suffix Prefix           Maiden                F11-It Middle 1 . Suffix Prefix        Maiden


No. of Plaintiffs _                                                   No. of Defendants 3

Plaintiffi?etitioner's Attorney                       ❑
                                                      f Pro Sc


Lad                   First                  Hindle I .    Suffix


Bar #

         Check Primary Type (Check only ONE)                             If Tort is Case Type:
                                                                                  (Check no more than TWO)
        ❑ Contract/ Account
                                                                        ❑ Auto Acciden t
        ❑ Wills/Estate
                                                                        © Premises Liability
        ❑ Real Property
                                                                        © Medical Malpractice
        ❑ Dispossessory/Distress
                                                                        ❑ Other Professional Negligence
        ❑ Personal Property
                                                                        ❑ Product Liability
        ❑   Equity

        ❑ Habeas Corpus
                                                                        ❑    Other Specify

        ❑ Appeals, Reviews
                                                                        Are Punitive Damages Pleaded ? (Yes ❑ N
        ❑ Post Judgment Garnishment, Attachment, or
          Other Relief

        ❑ Non-Domestic Contempt

        ❑ Tort (iftort, fill in right column)

        9 Other General Civil Specify FRAUD

                                                                     15. General Civil Cane Filing Information Fenn (Non -Domestic) 09-05
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 31 of 61




                                                            RECEIYEO FOR FJUING
                                                            S7YC CCl!„T C .` P ' i


                IN THE STATE COURT OF CHATHAM COUOQRMAY 24 AM 10z27
                           STATE OF GEORGIA


  JOHN RANDALL FUTCH,
             Plaintiff,                      Civil Action No . STCVn7-•01748-•G I


  V.



  HOUSEHOLD BANK
  RUST CONSULTING, INC .
  BRIAN STRANGE,                             MOTION-FOR RECONSIDERATION
                                                                                     IS
             Defendants .                    WITH A CORK A AVFIUVI T




        COMES NOW John Randall Futch (Plaintiff ) herein and files

  this it' s "Motion For Reconsideration To Proceed In Forma Pauperis
  With a Corrected Affidavit" and says the following :

        (1) Plaintiff has submitted a corrected affidavit

  pursuant to 42-1 .2-5 and the clarks request (Mr . Hart) .

        (2) Plaintiff says that his complaint is with good

  cause .
        (3) . Plainti ff says that if he cannot proceed with

  his moti on being granted it will cause irreparable injury .

        WLEREFORE ALL THE REASONS Plaintiff moves this Cour t
  for an ORDER that he be allowed to proceed in forma pauperis .

       This IL day of               _ .. (          ___,2007 .
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 32 of 61




                  IN THE STATE COURT OF CHATHAM COUNTY
                            STATE OF GEORGI A


             Petitione r

      O                                     Civil Action No .
              inmate Numbe r
                               vs .
      Household Bank
      Rust Consulting Inc .
              espon ant


                 REQUEST TO PROCEED IN FORMA PAUPERI S

I,        John Randall Fetch          depose and say that I am the plaintiff

in the above entitled case ; that in support of my request to proceed

without being required to prepay fees, cost or give security therefor ;

that I believe I am entitled to redress .
I further swear that the responses which I have made to questions

and instructions below are true .

]. . Are you presently employed?             no

2 . Have you received within the past twelve months any money
      from any other sources ?

      Busi ness , profession or form of self-employment?         na

      Pensi ons, annuities or life insurance payments?           no

      Rent payments ,      interest or divi dends 7              no

      Gifts or          inheritances?                           no

      Any other sources? Mother                                  ye s

3 .   Do you own any cash or do you have money in a checking or

      savings account ? (Include funds in prison accounts )
                                                                $6 .92

                                      (1)
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 33 of 61




                      CERTIFICATE OF SERVIC E

      I have thi s day deposited a true copy of the same "Motion

 For Reconsi derati on To Proceed In Forma Pauperis With a Corrected
 Affidavit into the U .S . mail with adequate postage to ;

 Household Bank         Rust Consulting
 P .O . Box 31 .98   P .Q . Box 7750
 Salias, CA 90136 Fairbault, MN 5538 7


 Brian Strang e
1.21.00 WilahI re Blvd .
Los Angelas, CA 90025'-


     This W day of P~~~ ,2007 .
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 34 of 61




                                                                            r•f            IK
                    IN THE STATE COURT OF CHATHAM COUNT"                       r
                               STATE OF GEORGIA                                      r-ii 3; fly,

  JOHN RANDALL FUTCH,
            Plaintiff,
  vs.                                                 CIVIL ACTION NO . STCV070174W-GI
  HOUSEHOLD BANK, RUST                        )
  CONSULTING, INC . and
  BRIAN STRANGE,
                 Defendants.

                      OR ION PLAINTIFF 'S MOTION FOR
                      RE ONS ERATION ON HIS REOUEST
                         TO r OCEED IN FORMA . PAUPERI S

         Pending before the Court is the Plaintiffs Motion for Reconsidera tion to Proceed in

  Forma Pauperis. In accordance with O.C.G.A. § 9-15-2 and 42-12-5, the Court has

  examined the Plaintiffs request to proceed in forma pauperis and affidavit of indigency .

         Based upon the Court's review of the Plaintiffs request to proceed informapauperis

  and the accompanying affidavit, and it appearing that the pauper's affidavit is proper, said

  request is GRANTED. The Clerk is hereby ordered to allow the Plaintiff to proceed in forma

  pauperis. The Clerk shall insure that the Plain tiff provides all required forms for filing and

  shall furnish the Sheriff with sufficient copies for service .

         Plaintiff is hereby notified that the approval to proceed in forma pauperis shall not

  prevent the freezing of a prisoner 's inmate account nor the forwarding of any future

  deposits into that account to the Court in accordance with the provisions of the Priso n
  Litigation Reform Act, O .C .G .A. §§ 12-1 et seq

         SO ORDERED this                   day of




  c: Plaintiff
       Clerk of Court
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 35 of 61




                         IN THE STATE COURT OF CHATHAM COUNTY
                                    STATE OF GEORGIA

  JOHN RANDALL FUTCH, )

          Plaintiff,                             )

          Vs,                                    )       Civil Action No . STCV070174SOI

  HOUSEHOLD BANK,
  RUST CONSULTING, INC., and
  BRIAN STRANGE ,

          Defendants.

                                                O

          Having considered Plaintiff John Randall Futeh ' s Motion for Service of Swnrnois and

  Complaint outside of State , this Court HEREBY ORDERS that Defendant Brian Strange be served

  with a copy of the summons and complaint in the above -captioned case in the same manner as

  service i s made within the State of Georgia, by any person authorized to make se rvice by the laws

  of the State of California or by any duly qualified atto rney in the State of Califomia.

          SO ORDERED , this day of June, 2007.




  cc : John Randall Flitch, Pro Se
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 36 of 61




                          IN THE STATE COURT OF CHATHAM COUNTY
                                     STATE OF GEORGI A                                                .,7 V


  JOHN RANDALL FUTCH,

          Plaintiff,

          V&                                               Civil Action No. STCV070174801

  HOUSEHOLD HANK,
  RUST CONSULTING, INC ., and
  BRIAN STRANGE,

          Defendants.

                                                  MER

          Having considered Plaintiff John Randall Patch's Motion for Service of Summons an d

  Complaint outside of State, this Court HEREBY ORDERS that Defendant Household Bank be

  served with a copy of the summons and complaint in the above-captioned ease in the same manner

  as service is made within the State of Georgia , by any person authorized to make service by the laws

  of the State of Illinois or by any duly qualified attorney in the State of Illinois .

          SO ORDERED, this ay of June, 2007 .




                                                                   Judge Ronald E. Gins
                                                                   State Court of CnathanrCounty

  cc : John Randall Futch, Pro Sc
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 37 of 61




                        IN THE STATE COURT OF CHATHAM COUNTY
                                   STATE OF GEORGI A

  JOHN RANDALL F UTCH,

         Plaintiff,

         vs.                                           Civil Action No . STCV0701748GI

  HOUSEHOLD BANK ,
  RUST CONSULTING, INC., and
  BRIAN STRANGE,

         Defendants.

                                               ME R

         Having considered Plaintiff John Randall Futch ' s Motion for Service of Summons and

  Complaint outside of State, this Cou rt HEREBY ORDERS that Defendant Rust Consulting, Inc .

  be served with a copy of the summons and complaint in the above-captioned case in the same

  manner as service is made within the State ofGeorgia , by any person authorized to make service by

  the laws of the State of Minnesota or by any duly quali fied attorney in the State of Minnesota.

         SO ORDERED, this _1 '-day of June, 2007.




  cc : John Randall Futch, Pro Se
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 38 of 61




               THE STATE COURT OF CHATHAM COUNTY
                               Brian K . Hart, Court Administrato r
                             Room 308, Chatham County Courthouse
                                    133 Montgomery Street
                                   Savannah , Georgia 3140 1
                                        (912) 652-722 4

                                            June 20, 2007



  Thomas Dart, Sheriff
  1401 Maybrook Drive
  Maybrook, IL 60153

                 Re: John Randall Futch
                       Vs
                       Household Bank, Rust Consulting , and Brian S trange
                       Civil Action No. STCV07-017480I

         Please perfect service of the second original in the above case on,

                 HOUSEHOLD BAN K
                 1301 EAST TOWER ROAD
                 SCHAUMBURG , IL 60173

          Please note service on the second original copy enclosed along with sheriffs entry of
  service and return to this office. No service fee is enclosed , as Judge Fowler, Chief Judge of
  State Court, allowed the plaintiff to proceed in forma pauperis.

         Thank you for your assistance .




                                                  n Bcall Galletta
                                                Deputy Court Administrator

  Enclosures
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 39 of 61




               THE STATE COURT OF CHATHAM COUNTY
                               Brian K . Hart, Court Administrator
                             Room 308, Chatham County Courthouse
                                     133 Montgomery Street
                                    Savannah, Georgia 31401
                                          (912) 652-7224

                                            June 20, 2007



  Hennepin County Sheriff
  Patrick D . McGowan
  350 South Fifth Street, Room 6
  Minneapolis, MN 5541 5

                Re : John Randall Futch
                       Vs
                       Household Bank, Rust Consulting , and Brian Strange
                       Civil Action No . STCV07-017480I

        Please perfect service of the second original in the above case on :

                RUST CONSULTING, INC.
                625 MARQUETTE AVENUE
                SUITE 880
                MINNEAPOLIS, MN 55402

         Please note service on the second original copy enclo sed along with sheriff's entry of
 service and retu rn to this office . No service fee is enclosed, as Judge Fowler , ChiefJudge of
 State Court, allowed the plaintiff to proceed informa pauperis .

        Thank you for your assistance.

                                               Very truly yours ,


                                               Aim Beall Galletta
                                               Deputy Court Administrator

 Enclosures
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 40 of 61




               THE STATE COURT OF CHATHAM COUNT Y

                               Brian X. Hart, Court Administrator
                             Room 308, Chatham County Courthouse
                                     133 Montgomery Street
                                   Savannah , Georgia 31401
                                         (912) 652-7224

                                            June 20, 2007



  Marilyn Baker , Captain
  5019 East Third Street
  Los Angeles , CA 90022

                Re : John Randall Futch
                       Vs
                       Household Bank,, Rust Consulting, and Brian Strange
                       Civil Action No. STCV07-0174801

        Please perfect service of the second original in the above case on :

                BRIAN STRANG E
                12100 WILSHIRE BOULEVARD
                19TH FLOOR
                LOS ANGELES, CA 9002 5

         Please mote service on the second original copy enclosed along with sheriffs entry of
 service and return to this office. No service fee is enclosed, as Judge Fowler, Chief Judge of
 State Court, allowed the plaintiff to proceed informapauperis.

        Thank you for your assistance .

                                              Very truly yours,

                                              4 '4~
                                              Ann Beall Galletta
                                              Deputy Court Administrato r

 Enclosures
       Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 41 of 61




C PA 6403            PERSONAL SERVICE, FOREIGN PROCESS                                        452044




STATE MWNEBOT    EPIA
                                                                              "       t'
COUNTY OF HHEENN EP i N                                   67-01/0                 -
 JEFFERY J HAAS (88), being duly swo rn, deposes and says, I am a citizen and resident of said
County of Hennepin, State of Minnesota , over 21 years of age; not related to either of the within
named parties , nor in any manner Interested in said cane : that I am a duly appointed, quallfiend
acting Deputy Sheriff of Hennepin County, Minnesota , that the hereto attached                     0
EXHIBIT(S)
AFFIDAVIT OF POVERTY
SUMMONS AND COMPLAINT
                                                                                                  :CID
CERTIFICATE UNDER RULE 3.2
 came into my hands for service on the 25th day of June , 2007 08:50 AM, and that at the City
MINNEAPOLIS, County and State aforesaid, on the 26th day of June , 200711 :30 AM, I duly ed
the above mentioned documents hereto attached upon the within named RUST CONSULTING I NC of
625 MARQUETTE AVE # 880 , MINNEAPOLIS, MN 55402 personally by then and there han di ng to,
and leaving with said PAUL VOGEL, VICE PRESIDENT, a true and corre ct copy thereof .




                                                                   RICHARD W. STANEK
                                                                 HENNEPIN COUNTY SHERIF F




Subscribed and sworn to before me this :&-day'of _ 2
                                                  9
Sheriff Fees:
JURAT               $5.00                                Notary Public Hennepin Coun,      Minnesota
NOTARY              $1 .00
SERVICE            $35.00                                             LINDA M. JOHNSON
TRAVEL                                                                Notary PubIIo n.sats
                    $1 .2 0                                          M W"00184031 .2010
      TOTAL ;      $42.20
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 42 of 61




                                                            ,

  Hennepin Coun ty Sheriffs Offic e                                                                  6/26/2007
  Patrick D •MbGowan , Sheriff Invoic e                                                                452044
  350 South Fifth Street                                                        OUT OF STATE (GA)
  Accounting Division, Room 30
  Minneapolis , MN, 5541 5




  STATE: COURT OF CHATHAM COUNTY
  ATTN : ANN BEAL L GALLETTA
  133 MONTGOMERY STREET # 308
  SAVANNAH, GA 3140 1




  Index Number:                    Completed :                     Plaintiff:
     452044 06-26-2007 JOHN RANDALL FUTCH
  Type of Procou:             Defendant :
  SUMMONS & COMPLAINT HOUSEHOLD BANK
  Date Received:
     06/25/200 7

   Description :                 Amount        Service Deposit :
   JURAT                            5.0 0
   NOTARY                           1 .00
   SERVICE                         35.00
   TRAVEL                           1 .20
   Told                            42.20                   0100
   Amount Refunded :                                       0 .00
   Amount Due : (No Charge)                                0 .00




                                           NOTICE
    1 . Make checks payable to : Hennepin County Sherif fs office .
    2. Return this Invoice with your remittance ,
    3. The Sheriffs re cords are tiled according to the Index number shown above . Please use t number
       for future reference .
    4 . For information pena7nIng to this billing , please call (812) 348,8205 or (612) 346-2485 .
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 43 of 61




                                                         RECEIVED FOR FILMS
                                                         STATE COURT CLER K


                                                       200 7 JUL - 6 AM ro= 5O
                IN THE-STATE COURT OF CHATHAM COUNTY
                           STATE OF GEORGIA          lj',Ze-~,



 JOHN RANDALL FUTCH,
                                      Case No . STCV07-01748••G t
            Plaintiff,




 HOUSEHOLD BANK,                      NOTICE OF APPEAL
 RUST CONSULTING AND
 BRIAN STRANGE ,

            Defendants .




      COME NOW John Randall Futeh (Plaintiff) herein and files
 this "Notice of Appeal" and says the following :

      The plaintiff hereby appeals the ORDER dated June 7, 2007

 to the Georgia Court of Appeals .    Nothing shall be omitted from

 the record ,

      The issue on appeal 1s as follows :

      Plaintiff says that this Court lacks jurisdiction to notify
the plaintiff that his account at the Federal Bureau of Prisons
will be frozen pursuant to the Prison Litigation Act . Plaintiff

says there is not one thread of evidence to support any finding
whereas the State has jurisdi ction to ORDER such . Plaintiff doe s

not consent .

This _          y    of        ,   2007 .
 Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 44 of 61




                    CERTIFICATE OF SERVIC E

     i have this day deposited a true copy of the same "Notic e
of Appeal" into the United States mail with adequate postage

attached thereon to :



                   Spencer Lawton, ADA
                   9 .33 Montgomery Street
                   Savannah, Georgia 31401,




  This   r1ay                                 ,2007 .




P .O . Box 500 0
Pekin, Illinois 61555- .5000
    Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 45 of 61




                                               COUNTY OF LOS ANGELES
                                           SHERIFF 'S DEPARTMEN T
                                              COURT SERVICES DIVISIO N
                                           MEMO TO ATTORNEY OR LITIGANT
Your p rocessldocument( s) are being returned to you for the reason ( s) check below :
0 Written Instructions are :
          o    Required for service      a Not signed                                             P
          o Incomplete                      Not legibl e
          o Inadequate                                                                            es
                                         0  Signed by someone other than
                                            the Attorney of record or litigant (tCP § 488 .030)
     Fees :
             Deposit for fees are required in advance 0 +" 049C
K       1b ~tnsufficient amount, fees or deposit required 3
             Remit fees by Money Order , Cashiers Check or Personal Check payable to th e
             Sheri a Deoatiment. Los Angeles County
             NOTE : DO NOT SEND CASH THROUGH THE U .S . MAIL
         D   A $ Notary Fee Is require d
         0   Witness Fees are quired, m ade savable to the witness, amount
         a Check is not signed or amounts differ or check is stale date d
o Writ or Document is :
              o Incomplete (#' s
              o Irregular on its face
              a Not legible
              o Directed to wrong County
              o Writ has changes which are not Initialed by the Issuing dark of the court
              o Insufficient number of copies received, need additional copies of the indicated document(s)
              o Additional documents needed for p roper service , see below or refer to the attached sample s
         Per our telephone conversatio n
         Other                           i'!'+'~', ~V "7 5
EXPLA ON OF ABOVE ;
                             t - tee               d~L• !'                                                '
                                c'vL^ cS~ ✓I C G


                   PL ASE ENCLOSE THIS MEMO WHIN R & BMITTING YOUS PROCESS FOB SERVICE

                                           MEMO TO GARNISHEE OR EM PLOYE R

The attached document(s) check number In the amount of $ Is being returned for the reason check
below,
o We have received a total release from the plaintiff or a court order releasing the funds.
o Unable to locate case number given, please provide a copy of thhe levy%order.
o Defendant has filed Bankruptcy : No. Chapter No .- Date flied __
o We have received judgment and costs on this case .
v Make checks payable to the Sherlfrs Deoartrnent__Los Ancial_oe Country
o Other:

     Return to Address below:
r                                   I
Deputy . '725 XTA
                  I N 'C-T 114
      SANlf'A,MC)N1CA CA 9040 1
L                                   J


Memo To A ny-LIApant Garr hee.Emp ayer MAp9012 (4WPD
       Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 46 of 61




 TYPE LAW                   SHERIFF'S OFFICE OF COOT( COUNTY, ILLINOI S                    DISTRICT 22 4

 SHERIFF ' S NUMBER 191302-0610 CASE NUMBER STCV0701748 DEPUTY 1

 FILED DT 05-01-2007 RECE IVED DT 06-28-2007 DIE OT 07-13-2007 MULT IPLE SERVICE 1
      DEFENDANT                                       ATTORNEY
 H OU SEHOLD BAN K                                    THE STATE COURT OF CHATHAM C O
 1301 TOWER RD          rr                            133 .-MONTGOMERY ST.
 SCHAUMBURG IL . 60173 G 1 I                          SAVANNAH GA . 31401
                                                                       912 652--7224
 PLAINTIFF FUTCH , JOHN RANDALL

 SERVICE INFORMATION : CF
 it# ltik~ktltfk~t *# rkiit,**1!# ****!t**k* 1llCR1t*#*1FItleA *****i**i ***k*i*** **t*******k*****'k*#r**'A'********* *

 (A) I CERTIFY THAT I SERVED THIS SUMMONS ON THE DEFENDANT AS FOLLOWS :

      . . .1 PERSONAL SERVICES BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT WITH THE,
             NAMED DEFENDANT PERSONALLY .
           2 SUBSTITUTE SERVICE : BY LEAVING A COPY OF THE SUMMONS AND A COPY OF THE COMPLAINT
             AT THE DEFENDANT ' S USUAL PLACE OF ABODE WITH SONS PERSON OF THE FAMILY OR A PERSON
             RESIDING THERE, OF THE AGE Of 13 YEARS OR UPWARDS , AND INFORMING THAT PERSON O F
             THE CONTENTS THEREOF . ALSO , A COPY OF THE SUMMONS WAS MAILED ON TH E
                        DAY OF 20               , IN A SEALED ENVELOPE WITH POSTAGE FULLY
             P PAID , ADDRESSED-THE
                                TO      DEFE TIT AT HIS OR HER USUAL PLACE OF ABODE .
             SAID PARTY REFUSED NAME
 ..     .3 SERVICE ONO CORPORATION COMPANY                   BUSINESS PARTNERSHI P
            BY LEAVING A COPY OF THE IMIMONS AND COMPLAINT OR INTERROCATORI rF} WITH THE
            REGISTERED AGENT , AUTHORIZED PERSON 0 PARTNER OF THE DEFENDANT.
 , . . . .4 CERTIFIED MAIL            1-1
                                                                                                                  Vii;
                                                                                                                  7irh

        1 SEX         !VF RACE                06,E c
                                                                                                e            r-

        2    NAME OF DEFENDANT          SEHOLR BAN                 [
                    WRIT'SERVE D                            ~ QT

             THIS     /3 DAY OF__~                2C. TI NE 6 i
      ADDITIONAL REMARKS



 -THE NAMED DEFENDANT WAS NOT SERVED ,

  TYPE OF BLDG                           61                             ATTEMPTED SERVICES

 NEIGHBORS NAME                                                    DATE TINE A .M ./P .M .

            ADDRESS

          REASON NOT SERVED :
                        07 EMPLOYER REFUSAL
  III MOVED 08 RETURNED BY ATTY
  02 NO CONTACT 09 DECEASE D
  03 EMPTY LOT          10 SLOG DEMOLISHE D
-04 NOT LISTED 11 NO REGISTERED AET .
  05 WRONG ADDRESS =12 OTHER REASONS
      06 NO SUCH ADDRESS -"" 13 OUT OF COUNTY
                                                                                       z

 FEE         .00 MI E               0     TOTAL                                                     562 0-
    Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 47 of 61




                          THE STATE COURT OF CHATHAM COUNTY
                                        CHATHAM COUNTY COUR THOUSE
                                                 moom sos
                                          SAVANNAH, GEORGIA SL401
 BRIAN K HART                                                                                  PHONE NO. (012) 6152-722 4
COURT ADMINISTRATOR                                                                             FAX NO . (9I2) 468-7286
                                                    May 2, 2007




        John Randall Futch, 408700-021
        FCI Pekin
        Post Office Box 5000
        Pekin, Illinois 61555-500 0

        Dear Mr. Fetch:

        We have received your civil lawsuit styled "John Randall Flitch vs Household Bank, Rust
        Consulting, Inc., and Brian Strange . " (Civil Action Number STCV07-017480I) You did not
        include with your civil lawsuit the Court's filing fee in the amount of $92.50 or fees incident to
        service of the lawsuit. In order to proceed as an indigent , Geor gia law requires that you comply
        with O.C.G .A. § 42-12-5 [In Forma Pauperis Procedure; Contents and Service of Affi davit;
        Judicial Determinations]. The attorney or party filing the complaint will furnish the necessary
        service copies. On out of county services, the Court needs a second original and a copy of the
        second original for each service ; a separate check to the sheriff for each service; and the address
        of the sheriff for each service .

        A prisoner ' s affidavit of in forma pauperis must contain each of the following : 1) The prisoner"s
        identity, including any and all aliases, and the prisoner' s inmate number; 2) the nature and
        amount of any income as well as the source of that income ; 3) real and personal property owned
        by the pri soner; and 4 ) cash and checking accounts held by the prisoner.

        The affidavit must also contain the following sworn statement and the signature of the prisoner:
        "I, do swear and affirm under penalty of law that the
        statements contained in this affidavit are true . I further attest that this application in forma
        paupers status is not presented to harass or to cause unnecessary delay or needless increase in the
        costs of litigation ."

        Further, your affidavit must contain a copy of your prisoner' s inmate account of the last twelve
        months or the period of your incarceration, whichever is less . You must serve the affidavit,
        including all attachments , on the Court and all named Defendants .
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 48 of 61




  O .C .G .A . Section 42- 12-5 paragraph (a) provides that the failure by the pri soner to comply with
  this subsection shall result in a dismissal without prejudice of the civil action .

                                                                 Sincerely,


                                                                 Brian K . Hart
                                                                 Clerk of State Court
    Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 49 of 61




                           THE STATE COURT OF CHATHAM COUNTY
                                   CHATHAM COUNTY COURTHOUgF:
                                                 ROOM 908
                                           aAVANNAH, GEORGIA 91101
  BRIAN IL HART                                                                                PHONE NO. (lia) 66!-7256
COUI%T ADMINISTRATOR                                                                            FAX NO. (9U) 662 .7999
                                                    May 2, 2007


        Superintendent
        FC[ Pekin
        Federal Correctional Institution
        Post Office Box 700 0
        Pekin, IL 61555

                                RE : Inmate : JOHN RANDALL FUTCH
                                Inmate Number :     08700-02 1
                                Civil Action No.: STCV07-017480I
                                                    JOHN RANDALL FUTCH
                                                    Vs.
                                                    HOUSEHOLD BANK. RUST CONSULTING,
                                                    INC ., AND BRIAN STRANG E

        Dear Superintendent :

        Pursuant to O .C.G.A. § 42-12-4, this letter is to notify you that the above referenced prisoner has
        filed a civil action in the State Court of Chatham County .

        The amount of the court costs due and payable is $92 .50 to State Court . (Mr. Futch will have to
        find out the service fees on the services he has for Los Angeles, CA, Minneapolis, MN, and
        Schaumberg, IL).

        The prisoner is seeking to proceed as an indigent prisoner and has filed a prisoner's affidavit of
        in forma pauperis .

        Pursuant to O .C .G .A. § 42-12 .4(3)(B), please forward all court costs and fees from the monies
        deposited in the prisoner's inmate account, if any, until all court costs and fees are satisfied .

                                                              Sincerely,



                                                              Brian K . Hart
                                                              Clerk of State Court
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 50 of 61




       42-12 .4. Pgytnsnl from prisaner'a iuanate seenant for Celts and fees of action
    cemneeneed by prisoner.



        The following provishnta shall apply when an Indigent prisoner commeneea an action :

       (I) The Indigent prisoner shall pay the current balance of !blade in the prisonees inmate
    account .
        (2) The cleric of court shall notify the superintendent of the institution In which the prisoner is
    incarcerated that an action has been riled. Notice to the superintendent shall Include :
        (A) The prlaonce s none, inmate autttber. and civil action mambee ; and
        (B) The arnotmt of the court coats and fens due and payable;
        (3) Upon notification by the clerk of court that an indigent prisoner has commenced an
    action, the superintendent shall ,
        (A) lmmodiatdy freeze the prisoner's inmate account; and

        (B) Order that all moneys deposited into the pdscmefs inmate account be forwarded to the
    clerk until all court costs and fees are satisflod , wb►mnpon the freezing of the account shall be
    terminated,




       a ;dp6 by 'm sdn dOsa s i nd M Swv B mde . a conhrw, rn.. . .r .bugt m t..Rwmwo croup. A u rho rm nva u,. orIea
    pods b ft*et in th.,mnkdon. .ne 10r . wd mnd inui rlh. A WAMN Banda M$1n Ap .n .
    Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 51 of 61




                           THE STATE COURT OF CHATHAM COUNTY
                                           CHATHAM COUNTY COURTHOUSE
                                                    ROOM 30$
                                             SAVANNAH, GEORGIA 31401                            PHONE NO. (4i2) 942.4224
 BRIAN I;. HART
COURT ADMIN1 6TAATOR                                                                             FAX NO. (91%) SHA M
                                                    June 13, 2007


        Superintendent
        FCI Pekin
        Federal Correctional Institution
        Post Office box 700 0
        Pekin, IL 6155 5

                       RE : Inmate: JOHN RANDALL FUTCH
                       Inmate Number : 08700-02 1
                       Civil Action No .: STCV07-01748GI
                                            John Randall Futch
                                            Vs .
                                            Household Bank, Ruse Consulting, Inc ., and B ri an Strange

        Dear Superintendent :

        The letter sent to you on May 2, 2007, from the State Court of Chatham County notified you of
        this civil action that was filed in State Court . The letter requested you to forward all court costs
        and fees from the monies deposited in the prisoner's inmate account until all court costs and fees
        were satisfied .

        Pursuant to that action, Mr. Futch filed a "Motion for Reconsideration to Proceed in Forma
        Pauperts with a Corrected Affidavit" with State Court .

        An order granting the plaintiff's motion to proceed in Forma Pauperis was signed by the
        Honorable H . Gregory Fowler, Chief Judge of the State Court of Chatham County, on the 70 day
        of June, 2007.

        Therefore, Mr.1 utch will be able to proceed with his litigation on this case in the State Court of
        Chatham County without court costs and fees . Your office does not need to forward any monies
        deposited in the prisoner's inmate account to State Court.

                                                               Sincerely,

                                                               Brian K. Ha rt
                                                               Clerk of State Court
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 52 of 61




                                                                                RECi•:1' tl ; ol! 1LlP:~ a



                                                        2001 JUL 25 PM 11: 3.8
                      IN THE STATE COURT OF CHATHAM COUNT Y
                                       STATE OF GEORGIA


 JOHN RANDALL FUTCH, )

                 Plaintiff, )
                                                           CASE NO . STCV 070174 8
         V.             )
                              )
 HOUSEHOLD BANK, N.A.,     )
 RUST CONSULTING, INC ., and )
 BRIAN STRANGE,               )
                              )
           Defendants.        )

                                    ANSWER AND DEFENSE S

          For its Answer to the Complaint of Plaintiff John Randall Futch, Defendant Rust

 Consulting, Inc . (`Rust"), by and through its undersigned attorneys , responds as fo ll ows :

                                          FIRST DEFENS E

         Responding to the individually numbered paragraphs of Plaintiffs Complaint, Rust states

 as follows :

         1 . Rust is without information or knowledge sufficient to form a belief as to the truth

of Paragraph No . 1, Compl . at 1, and therefore denies the same .

         2. In response to Paragraph No . 2, Compl . at 1, Rust admits only that it is

incorporated under the laws of Minnesota and that its headquarters are located in Minnesota .

Rust expressly denies that it is subject to jurisdiction in Georgia . Any all egation not expressly

admitted in response to Paragraph No . 2, Compl. at 1, is hereby denied.

         3. Rust is without information or knowledge sufficient to form a belief as to the truth

of Paragraph No . 3, Compl. at 1, and therefore denies the same.
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 53 of 61




        1 . Rust is without information or knowledge sufficient to form a belief as to the truth

 of Paragraph No . 1,1 Compl . at 2, and therefore denies the same.

        2 . Rust admits only that a national class action was filed against Defendant

 Household Bank, N .A. in a California state court . Rust is without information or knowledge

 sufficient to form a belief as to the truth of the remainder of Paragraph No . 2, Compl . at 2, and

 therefore denies the same .

        3 . In response to Paragraph No. 3, Compl. at 2, Rust admits that Rust's corporate

 headquarters are located in Minnesota . Responding further, Rust admits that it is engaged in the

 business of administering claims for class action settlements and has served as claims

 administrator for Defendant Household Bank, N .A. in a national class action adjudicated by a

 California state court in the past. Any allegation not expressly admitted in response to Paragraph

No. 3, Compl . at 2, is hereby denied.

        4. Rust is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph No . 4, Compl. at 2, and therefore denies the same .

        5 . On August 23, 2004, Rust admits that it received a request to obtain a Claim Form

at its Claims Administration Center in Minnesota with a return address of. John Randall Futch,

Federal Bureau of Prisons, P . O . Box 474701, Des Moines , Iowa, 50947. Rust is without

knowledge or information sufficient to form a belief as to the truth of the remai ning allegations

in Paragraph 5, Compl. at 2, and therefore denies the same .




        I The-first three paragraphs of Plaintiff' s Complaint are enumerated Paragraphs 1-3 on
Page 1 . On Page 2 of the Complaint , Plaintiff numbers his allegati ons starting again with
Paragraph 1 . This Answer conforms to Plaintiff' s numbering system , but includes the
Complaint' s page numbers for clarity.
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 54 of 61




                Rust is without knowledge or information sufficient to form a belief as to the trut h

 of the allegations in Paragraph 6, Compl . at 2, and therefore denies the same.

         7 . Rust is without knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 7, Compl . at 2, and therefore denies the same.

         8 . Rust is without knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 8, Compl . at 2-3, and therefore denies the same .

         9. Rust is without knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 9, Compl . at 3, and therefore denies the same .

         10 . Rust is without knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 10, Compl . at 3, and therefore denies the same.

         11 . Rust is without knowledge or information sufficient to form a belief as to the truth

 of the allegations in Paragraph 11, Compl . at 3, and therefore denies the same .

         12 . Rust denies that it committed any fraud with respect to any claims submitted by

 Plaintiff to Rust. Rust denies that Plaintiff filed a proper claim that would qualify him to relief

 under the California class action settlement . Rust is without knowledge or information sufficient

 to form a belief as to the truth of the remaining allegations in Paragraph 12, Compl . at 3, and

 therefore denies the same .

         13. Rust denies that it conspired with Defendants Household Bank, N .A. or Brian

 Strange to deny Plaintiff's claims . Responding further, Rust denies that it committed any acts of

 fraud as to Plaintiff Responding further, Rust states that it denied in good faith a claim by

 Plaintiff for failure to comply with requirements specified on the Claims Request Form . Any

 allegation not expressly admitted in response to Paragraph 13, CompL at 3, is hereby denied.
Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 55 of 61




         In response to the unnumbered "WHEREFORE" paragraph following Paragraph No. 13,

 Compi. at 3-4, Rust denies all allegations contained therein and further denies that Plaintiff is

 entitled to any of .the relief sought therein.

                                          SECOND DEFENS E

         The Complaint, and each cause of action thereof, fails to state a claim against Rust upon

 which relief can be granted .

                                           THIRD DEFENSE

         Rust is a foreign corporation, and is not subject to the jurisdiction of this Court .

                                          FOURTH DEFENSE

         PlaintiWs claims are barred, in whole or in part, by the doctrines of res judicata and/or

 collateral estoppel .

                                           FIF'Y'H DEFENSE

         Plaintiff' s claims are barred, in whole or in part, by the doctrines of laches and/or waiver .

                                           SIXTH DEFENS E

         There is no basis in law or fact for the imposition of punitive damages with respect to the

Plaintiffs claims against Rust ..

                                         SEVENTH DEFENS E

         Any award of punitive damages against Rust would violate the due process and equal

protection provisions in the Constitution of the State of Georgia , Article I, § 1,11 1-2 and the

Fifth and Fourt eenth Amendments to the United States Constitution.
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                                        EIGHTH DEFENS E

        Without limiting the generality of the previous defense , an award of punitive damages

against Rust in this case would violate i ts due p rocess rights guaranteed by the Fifth and

Fourt eenth Amendments to the United States Constitution and by A rticle I, § 1, 111-2 of the

Constitution of Georgia ( 1983) because : ( 1) such an award under Georgia law is not subject to a

predetermined amount, such as a maximum multiple of compensato ry damages or a maximum

amount (2) the standard of law in Georgia does not provide su fficient clarity for determining the

appropriateness and the approximate size of the punitive damages award; (3) the ju ry is not,

under Georgia law, adequately instructed on the limits of punitive damages imposed by the

applicable principles of deterrence ' and punishment ; ( 4) the j ury is not expressly prohibited frpm

awarding punitive damages , or determining the amount of an award of punitive damages, in

whole or in part, on the basis of invidiously discriminato ry characteri stics , including the

residence, wealth, status and identity of the defendant; ( 5) the j ury is permitted to award puni tive

damages under a standard for determining liability for puni tive damages that is vague and

arbitrary and does not de fi ne with sufficient clarity the conduct or mental state that makes

punitive damages permissible ; (6) an award of punitive damages is not subject to tri al court and

appellate judicial review for reasonableness and for the fu rth erance of the legitimate purposes of

such damages on the basis of objective standards ; ( 7) an award of puni tive damages in this action

would have an impermissible extraterritorial e ffect; (9) Rust had no notice of or means of

ascertaining whether, or in what amount, it might be subject to a penal ty of punitive damages for

the conduct alleged by Plainti ff in this case, which lack of notice was compounded by the

absence of any adequate or meaningful standards as to the kind of conduct that might subject

Rust to puni tive damages or as to the potential amount of such an award ; (9) an award of




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punitive damages under Georgia law does not give co gnizance to the comparability of the award

to awards in other, similar cases ; ( 10) an award of punitive damages in Georgia under Georgia's

statute does not give adequate consideration to the proportionality of the punitive damage s

awarded to the alleged wrong done to Plaintiff; and (11) no provision of Georgia law or the

Geor gi a punitive damages scheme provides adequate procedural safeguards consistent with the

criteria set forth in State Farm Mut . Auto . Ins. Co. v. Campbell , 538 U.S . 408 (2003), Cooper

Indus., Inc. v. Leatherman Tool Group, Inc., 532 U . S . 424 (2001), BMWofN Am., Inc. v. Gore,

517 U . S . 559 (1996), Pac. Mut. Life Ins. Co . v. Haslip, 499 U.S . 1 (1990), and Matthews v.

Eldridge, 424 U . S . 319 (1976), for the imposition of a punitive award .

                                         NINTH DEFENS E

        O.C .G.A. § 51-12-5 .1 violates the equal protection provisions of the Constitution of the

United States and the Constitution of the State of Georgia (1983 ), Article 1, § 1, ¶ 2, with the

result that the entirety of O.C .G .A. § 51-12-5, 1 concerning punitive damages is void as

unconstitutional .

                                        TENTH DEFENSE

        Any award of punitive damages against Rust would constitute an excessive fine, and fail

to afford Rust the procedural safeguards prescribed in the Constitution of the State of Georgia,

and the Fifth, Fourteenth and Eighth Amendments to the United States Constitution.

                                     ELEVENTH DEFENSE

       Insofar as the punitive damages award sought by Plaintiff seeks to impose punitive

damages under Georgia law for conduct in other states, the award violates : (a) Rust's rights to

due process under the Fourtecrith Amendment of the United States Constitution and Article 1, §1,

¶ I of the Constitution of the State of Georgia (1983) ; (b) the dormant or negative commerce
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clause derived from Article I, Section 8, Clause 3 of the United States Constitution ; (c) the Full

Faith and Credit Clause of Article IV, Section 1 of the United States Constitution ; ( d) the

requirement of the United States Constitution that a state respect the autonomy of other states

within their spheres ; and (e) the notion that a state has no legitimate concern in imposing

 punitive damages to punish a defendant for acts committ ed outside of the state ' s jurisdiction, as

 stated in State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U . S . 408 (2003), Cooper Indus., Inc . v.

Leatherman Tool Group, Inc., 532 U. S . 424 (2001), BMW of N. Am ., Inc. v. Gore, 517 U.S . 559

 (1996), Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1 (1990), andMatthews v. Eldridge, 424 U.S .

 319 (1976) .

                                      TWELFTH DEFENS E

        Without limiting any previous defense, insofar as any punitive damages sought by

Plaintiff are awarded, such punitive damages may not exceed the sum of substantial

compensatory damages that may be awarded to Plaintiff, as to do so would violate Rust's due

process rights guaranteed by Article I, § 1, 11 of the Constitution of Georgia (1983).

                                    THIRTEENTH DENSE

        Without limiting any previous defense, insofar as any punitive damages sought by

Plaintiff are awarded, such punitive damages may not exceed the sum of substantial

compensatory damages that may be awarded to Plaintiff, as to do so would violate Rust's du e

process rights guaranteed by the United States Constitution as applied in State Farm Mut. Auto.

Ins. Co, v. Campbell, 538 U.S . 408 (2003), Cooper Indus., Inc. v. Leatherman Tool Group, Inc.,

532 U .S . 424 (2001), BMWofN. Am., Inc. v. Gore, 517 U.S . 559 (1996), Pac. Mut. Life Ins. Co.

v. Haslip, 499 U .S . 1 (1990), and Matthews v. Eldridge, 424 U . S . 319 (1976) .
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                                     FOURTEENTH DEFENSE

        Rust asserts that venue is improper in this case .

                                       FIFTEENTH DEFENS E

        Rust reserves the right to assert or plead any additional defenses that may arise or become

available in the course of this litigation .



        Respectfully submitted thisday of 2007 .


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                              CERTIFICATE OF-SERVIC E

      I hereby certify that I have this day served a copy of the foregoing Answer and

Defenses of Defendant Rust Consulting, Inc . was served via United States first class

mail addressed to Plaintiff, proceeding pro se, and all counsel of records as follows :

                     Mr. John Randall Futch
                     Federal Correctional Institution
                     PO Box 5000
                     Pekin, Illinois 6155 5

      This 25th day of July, 2007 .

                                        ELLIS, PAINTER, RATTERREE & ADAMS LLP




                                        R. Clay Ratte es
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     Case 4:07-cv-00109-BAE-GRS Document 1 Filed 07/26/07 Page 61 of 61




                         CERTIFICATE OF SERVIC E

             I hereby certify that a true and correct copy of the foregoing NOTICE

OF REMOVAL was served by first class mail, postage prepaid, upon all counsel

of record on this 2-a-- day of July, 2007, addressed as follows :

                             Mr. John Randall Futch
                             Federal Correctional Institution
                             P .O . Box 5000
                             Pekin, Illinois 61555




                                             R. Clay Ratterree

                                             Counselfor Defendant Rust
                                             Consulting, Inc.
